         Case 1:20-cv-00059-LAG Document 22 Filed 05/14/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION



 DEBORAH LAUFER,

                Plaintiff,

 v.
                                                           Case No: 1:20-cv-59-LAG

 HJL HOSPITALITY, LLC.,

                Defendant,

 _______________________________________/


          PLAINTIFF’S MOTION TO STAY PENDING APPELLATE RULING

               Plaintiff, by and through her undersigned counsel, requests this Court stay

proceedings in this case pending the outcome of Kennedy v. Warrior Air, case no: 20-11545, or

Laufer v. Arpan, LLC. Case no: 20-14846, both of which are now pending before the Eleventh

Circuit Court of Appeals and both of which involve the involving the same standing issue in this

case. More specifically:

               1. This is an action brought pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) in which the Plaintiff is requesting that the Defendant be

ordered to bring its own websites and the third party booking sites it utilizes into compliance

with the requirements of 28 C.F.R. Section 36.302(e)(1). That section, which is cited in full, in

the complaint [D.E. 1, ¶8 ], imposes standards for reservation systems maintained or utilized by



                                                 1
          Case 1:20-cv-00059-LAG Document 22 Filed 05/14/21 Page 2 of 3




places of lodging such as the Defendant’s motel. Essentially, a reservation system “with respect

to reservations made by any means, including by telephone, in-person, or through a third

party”must allow the disabled to access the system as the able bodied are able to do. In addition,

and among other things, the system must provide sufficient information to allow a disabled

individual to determine whether or not a particular establishment meets their individual needs, 28

CFR 36.302(a)1)(ii).

               2. The Defendant did not respond to the complaint. The Clerk subsequently

entered a default and the Plaintiff then moved for entry of Default Judgment. With that motion

pending, the Court raised the issue of the Plaintiff’s standing [D.E. 11].

               3. Kennedy v. Warrior Air, and Laufer v. Arpan, LLC., involve the issue of

whether or not a Plaintiff in Ms. Laufer’s position has standing, and, therefore, whether a Court

has jurisdiction to entertain her claims. A ruling in either case will have a substantial bearing on,

if not definitively determine, the standing issue presented in this case.

               4. The identical standing issue is also presently pending before the Seventh

Circuit, Laufer v. Rasmus, et., al., case no: 21-1306 and the Tenth Circuit in Laufer v. Looper,

case no: 21-1031.

               5. Thus, considerations of judicial economy counsel in favor of staying this case

pending a decision from the Court of Appeals.

               6. Other courts have stayed proceedings for the same reason advanced above, e.g.,

Laufer v. Suites I.Q., LLC., case no: 3549-RM-NYW (D. Colo) [D.E. 33]; Laufer v. Hayoung

Choi, case no: 1:20-cv-3716-CMA (D. Colo), Laufer v. Campfield Properties, Inc., case no:

1:20-cv-3715-CMA-KLM (D.Colo), Laufer v. Growth Motels, etc., case no: 3:20-cv-791-wmc


                                                  2
         Case 1:20-cv-00059-LAG Document 22 Filed 05/14/21 Page 3 of 3




(D.Wisc.)[D.E. 15; but see, Laufer v. Boulderado Hotel, LTD, case no: 20-cv-3550-RBJ (D.

Colo)[D.E. 23](declining to stay case).

               7. This motion is filed in good faith and not for any improper purpose.

               WHEREFORE, Plaintiff moves this Court stay this case pending a ruling from

the Eleventh Circuit on the standing issue.

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record on April 19, 2021.



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